                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION

JACK L. SISK and ELIZABETH M.                     )
SISK,                                             )
      Plaintiffs,                                 )
                                                  )    CASE NO. 1:10cv6
vs.                                               )
                                                  )    JUDGE HAYNES
HI-TECH AMERICA DEVELOPMENT                       )
(HAD) III CORPORATION, et al                      )
                                                  )
                                                  )
        Defendants.                               )

                                 ORDER OF DISMISSAL


        COMES NOW JACK L. SISK and ELIZABETH M. SISK, the above named Plaintiffs,

through counsel, and request that this Honorable Court dismiss this action against all of the

Defendants with prejudice and any unpaid court costs being taxed to the Plaintiff. The parties will

bear their own attorney’s fees and discretionary costs.

        IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this action against

all of the Defendants, namely HI-TECH AMERICA DEVELOPMENT (HAD) III

CORPORATION, HI-TECH AMERICA DEVELOPMENT (HAD) V CORPORATION,

GLOBAL DISTRIBUTION GROUP, INC., the PERSONAL REPRESENTATIVE for the

ESTATE OF KENNETH FRANKLIN, SR. that has been substituted for Decedent KENNETH

FRANKLIN, SR., KENNETH FRANKLIN, JR., RONALD KONITZER and KENNETH

FINKELSTEIN is dismissed with prejudice, that the court costs be taxed to the Plaintiffs and that

the parties will bear their own attorney’s fees and discretionary costs.

        It is so ORDERED.

        ENTERED this the ______ day of July, 2011.


                                                           ______________________________
                                                           WILLIAM J. HAYNES, JR.
                                                           United States District Judge



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     APPROVED FOR ENTRY:

     /s/ Shearon W. Hales
     _______________________
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